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                                   9                                    UNITED STATES DISTRICT COURT

                                  10                                   NORTHERN DISTRICT OF CALIFORNIA

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                                  12     PARKRIDGE LIMITED and MABEL                         Case No. 16-cv-07387-JSW
Northern District of California




                                         MAK,
 United States District Court




                                  13                     Plaintiffs,                         ORDER DENYING MOTION TO
                                  14                                                         ENTER EARLY JUDGMENT
                                                  v.                                         PURSUANT TO FEDERAL RULE OF
                                  15                                                         CIVIL PROCEDURE 54(B)
                                         INDYZEN, INC. and PRAVEEN NARRA
                                         KUMAR,                                              Re: Dkt. No. 199
                                  16
                                                         Defendants.
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                                              Now before the Court is the motion filed by Defendants Indyzen, Inc. and Praveen Narra
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                                       Kumar to enter early judgment on the arbitration award pursuant to Federal Rule of Civil
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                                       Procedure 54(b). Under Rule 54(b), when an action presents more than one claim for relief, a
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                                       district court may, in its discretion, “direct the entry of a final judgment as to one or more, but
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                                       fewer than all, claims upon determination that ‘there is no just reason for delay.’” Curtiss-Wright
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                                       Corp. v. Gen. Elec. Co., 446 U.S. 1, 10 (1980). A disposition is considered final where there has
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                                       been a decision upon a cognizable claim for relief and it is “an ultimate disposition of an
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                                       individual claim entered in the course of a multiple claims action.” Id. at 6-7. Once juridical
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                                       concerns have been met, the discretionary decision of the district court should be given substantial
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                                       deference because the court is “the one most likely to be familiar with the case and with any
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                                         Case 4:16-cv-07387-JSW Document 204 Filed 01/21/22 Page 2 of 2




                                   1   justifiable reasons for delay.” Sears Roebuck and Co. v. Mackey, 76 S. Ct. 895, 901 (1956).

                                   2          Here, Indyzen requests that the Court exercise its discretion to enter judgment pursuant to

                                   3   Rule 54(b) of the claims adjudicated in arbitration. However, because the damages element of the

                                   4   claim for breach of contract has not been resolved and because the trial regarding that element is

                                   5   forthcoming, the Court declines to enter judgment early on the remainder of the claims adjudicated

                                   6   in arbitration. Accordingly, the Court DENIES Indyzen’s motion.

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                                   8          IT IS SO ORDERED.

                                   9   Dated: January 21, 2022

                                  10                                                   ______________________________________
                                                                                       JEFFREY S. WHITE
                                  11                                                   United States District Judge
                                  12
Northern District of California
 United States District Court




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